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AT SEATTLE
CLERK U.S. DISTRICT COURT
on DISTRICT OF WASHINGTON

DEPUTY

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR22-180 LK
Plaintiff, PLEA AGREEMENT
Vv.
RYAN HOLMOQUIST,
Defendant.

The United States, through United States Attorney Tessa M. Gorman and
Assistant United States Attorney Casey S. Conzatti of the Western District of
Washington and Ryan Holmquist and Mr. Holmquist’s attorney Ralph Hurvitz enter into
the following Plea Agreement, pursuant to Federal Rule of Criminal Procedure
11(c)(1)(B).

1. The Charge. Defendant, having been advised of the right to have this
matter tried before a jury, agrees to waive that right and enters a plea of guilty to the

following charge contained in the Indictment.

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SEATTLE, WASHINGTON 98101
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a. Conspiracy to Distribute Controlled Substances, in violation of Title
21, United States Code, Section 841(a)(1), 841(b)(1)(C), and 846, a lesser
included offense of Count 1 of the Indictment. .

By entering a plea of guilty, Defendant hereby waives all objections to the form of
the charging document. Defendant further understands that before entering any guilty
plea, Defendant will be placed under oath. Any statement given by Defendant under oath
may be used by the United States in a prosecution for perjury or false statement.

2. Elements of the Offense. The elements of Conspiracy to Distribute
Controlled Substances, a lesser included offense of Count 1 of the indictment, to which
Defendant is pleading guilty are as follows:

a. Beginning at a time unknown, but within the past five years, and
continuing until on or about October 25, 2022, there was an agreement between
two or more persons to distribute controlled substances including
methamphetamine andekerota; an

b. The Defendant joined in the agreement knowing of its purpose and
intending to help accomplish that purpose
3. The Penalties. Defendant understands that the statutory penalties

applicable to the offense to which Defendant is pleading guilty are as follows:

a. For the offense of Conspiracy to Distribute Controlled Substances, a
lesser included offense of Count 1: A maximum term of imprisonment of up to 20
years, a fine of up to $ 1,000,000, a period of supervision following release from
prison of at least three years and up to life, and a mandatory special assessment of
one-hundred dollars. If a probationary sentence is imposed, the probation period
can be for up to five (5) years.

Defendant understands that supervised release is a period of time following
imprisonment during which Defendant will be subject to certain restrictive conditions and

requirements. Defendant further understands that, if supervised release is imposed and

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Defendant violates one or more of the conditions or requirements, Defendant could be
returned to prison for all or part of the term of supervised release that was originally
imposed. This could result in Defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

_ Defendant understands that as a part of any sentence, in addition to any term of
imprisonment and/or fine that is imposed, the Court may order Defendant to pay
restitution to any victim of the offense, as required by law.

Defendant further understands that the consequences of pleading guilty may
include the forfeiture of certain property, either as a part of the sentence imposed by the
Court, or as a result of civil judicial or administrative process.

Defendant agrees that any monetary penalty the Court imposes, including the
special assessment, fine, costs, or restitution, is due and payable immediately and further
agrees to submit a completed Financial Disclosure Statement as requested by the United
States Attorney’s Office.

Defendant understands that, if pleading guilty to a felony drug offense, Defendant
will become ineligible for certain food stamp and Social Security benefits as directed by
Title 21, United States Code, Section 862a.

4. Immigration Consequences. Defendant recognizes that pleading guilty
may have consequences with respect to Defendant’s immigration status if Defendant is
not a citizen of the United States. Under federal law, a broad range of crimes are grounds
for removal, and some offenses make removal from the United States presumptively
| mandatory. Removal and other immigration consequences are the subject of a separate
| proceeding, and Defendant understands that no one, including Defendant’s attorney and
the Court, can predict with certainty the effect of a guilty plea on immigration status.
Defendant nevertheless affirms that Defendant wants to plead guilty regardless of any
immigration consequences that Defendant’s guilty plea(s) may entail, even if the

consequence is Defendant’s mandatory removal from the United States.

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5. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, Defendant knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of Defendant’s
peers;

c. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court appoint one for
Defendant;

d. The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial;

f. The right to compel or subpoena witnesses to appear on Defendant’s
behalf at trial;

g. The right to testify or to remain silent at trial, at which trial such

silence could not be used against Defendant; and
h. The right to appeal a finding of guilt or any pretrial rulings.

6. United States Sentencing Guidelines. Defendant understands and
acknowledges that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing
Guidelines together with the other factors set forth in Title 18, United States Code,
Section 3553(a), including: (1) the nature and circumstances of the offense(s); (2) the
history and characteristics of Defendant; (3) the need for the sentence to reflect the
seriousness of the offense(s), to promote respect for the law, and to provide just
punishment for the offense(s); (4) the need for the sentence to afford adequate deterrence

to criminal conduct; (5) the need for the sentence to protect the public from further

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crimes of Defendant; (6) the need to provide Defendant with educational and vocational
training, medical care, or other correctional treatment in the most effective manner; (7)
the kinds of sentences available; (8) the need to provide restitution to victims; and (9) the
need to avoid unwarranted sentence disparity among defendants involved in similar
conduct who have similar records. Accordingly, Defendant understands and
acknowledges that:

a. The Court will determine Defendant’s Sentencing Guidelines range
at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in
18 U.S.C. § 3553(a), the Court may impose any sentence authorized by law, up to the
maximum term authorized by law;

C. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. Defendant may not withdraw a guilty plea solely because of the
sentence imposed by the Court.

7. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.

8. Statement of Facts. Defendant admits Defendant is guilty of the charged
offense. The parties agree on the following facts:

a. Beginning at a time unknown, and continuing until at least October

25, 2022, the Defendant, Ryan Holmquist, conspired with others known and
unknown, including those named in the indictment, to distribute controlled

substances, including methamphetamine, within the Western District of

Washington.
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b. During the conspiracy, Mr. Holmquist ordered methamphetamine
from his co-conspirators which he then redistributed. Specific examples of this
include a call placed by co-defendant Jose Paleo to Mr. Holmquist on May 7,
2022, at approximately 10:06 p.m. During this call Mr. Paleo asked if Mr.
Holmquist needed any “water” [methamphetamine]. Mr. Holmquist responded by
saying that he only needed “two” [two pounds] because he had a big order coming
shortly. Additionally, on May 9, 2022, at approximately 6:55 p.m., Mr. Holmquist
sent a text message to Mr. Paleo asking if Mr. Paleo had “seven waters” [seven
pounds of methamphetamine]. Mr. Holmquist was supplied with the controlled
substances he ordered by members of the conspiracy, including Mr. Paleo. Mr.
Paleo and Mr. Holmquist also communicated regarding money that Mr. Holmquist
owed Mr. Paleo in exchange for the drugs he ordered. Mr. Holmquist knowingly
conspired and agreed with his co-conspirators to distribute methamphetamine to
others in order to obtain a benefit to himself.

C. On October 25, 2022, agents executed a search warrant at Mr.
Holmquist’s residence. During the execution of the search warrant, agents
recovered methamphetamine and heroin. The controlled substances located inside
Mr. Holmquist’s residence were knowingly possessed by him.

d. Additionally, agents also recovered one Ruger Security-9 pistol from
inside Mr. Holmquist’s residence, as well as ammunition, magazines, and
accessories. Because the firearm, ammunition, and accessories were available for
Mr. Holmquist to use to protect his drugs and drug proceeds, this property
facilitated Mr. Holmquist’s participation in the charged conspiracy.

The parties agree that the Court may consider additional facts contained in the
Presentence Report (subject to standard objections by the parties) and/or that may be

presented by the United States or Defendant at the time of sentencing, and that the factual

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statement contained herein is not intended to limit the facts that the parties may present to
the Court at the time of sentencing.

9. Sentencing Factors. The parties agree that the following Sentencing
Guidelines provisions apply to this case:

a. A base offense level of 32 as the relevant conduct involved at least

3,000 kilograms but less than 10,000 kilograms of converted drug weight,

pursuant to USSG § 2D1.1(c)(4).

b. A two-point increase as a dangerous weapon was possessed,
pursuant to USSG § 2D1.1(b)(1).

The parties agree they are free to present arguments regarding the applicability of
all other provisions of the United States Sentencing Guidelines. Defendant understands,
however, that at the time of sentencing, the Court is free to reject these stipulated
adjustments, and is further free to apply additional downward or upward adjustments in
determining Defendant’s Sentencing Guidelines range.

10. Acceptance of Responsibility. At sentencing, if the Court concludes
Defendant qualifies for a downward adjustment for acceptance of responsibility pursuant
to USSG § 3E1.1(a) and Defendant’s offense level is 16 or greater, the United States will
make the motion necessary to permit the Court to decrease the total offense level by three
levels pursuant to USSG 8§ 3E1.1(a) and (b), because Defendant has assisted the United
States by timely notifying the United States of Defendant’s intention to plead guilty,
thereby permitting the United States to avoid preparing for trial and permitting the Court
to allocate its resources efficiently.

li. Forfeiture of Assets. Defendant understands that the forfeiture of property
is part of the sentence that must be imposed in this case. Defendant agrees to forfeit to the
United States immediately his right, title, and interest in any and all property, real or
personal, that constitutes proceeds of, and/or that facilitated, his commission of the

offense of Conspiracy to Distribute Controlled Substances, a lesser-included offense to

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that charged in Count 1 of the Indictment. All such property is forfeitable pursuant to
Title 21, United States Code, Section 853(a), and includes, but is not limited to, the
following property, seized from 755 5 Avenue NW, Unit D102, Issaquah, Washington,
on or about October 25, 2022:

a. One Ruger Security-9 pistol, bearing serial number 383-03286, with a

loaded magazine attached, and two additional loaded magazines;

b. Three boxes of 9mm Luger ammunition; and

C. Miscellaneous loose rounds of ammunition.

Defendant agrees to fully assist the United States in the forfeiture of any
forfeitable property and to take whatever steps are necessary to pass clear title to the
United States, including but not limited to: surrendering title and executing any
documents necessary to effect forfeiture; assisting in bringing any property located
outside the United States within the jurisdiction of the United States; and taking whatever
steps are necessary to ensure that property subject to forfeiture is not sold, disbursed,
wasted, hidden, or otherwise made unavailable for forfeiture.

Defendant also agrees not to file any claims to any of this property in any federal
forfeiture proceeding, administrative or judicial, that may be or has been initiated, or to
otherwise contest any federal forfeiture proceeding that may be or has been initiated.
Defendant also agrees he will not assist anyone else who may file a claim to this property
in any federal forfeiture proceeding.

The United States reserves its right to proceed against any remaining assets not
identified in this Plea Agreement, in which the Defendant has any interest or control, if
said assets facilitated and/or constitute proceeds of his commission of Conspiracy to
Distribute Controlled Substances, a lesser-included offense of that charged in Count 1.

12. Abandonment. Defendant also agrees that, if any federal law enforcement
agency seized any illegal contraband, or any other firearms, magazines, ammunition, or

firearms accessories, that were in Defendant’s direct or indirect control, Defendant

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consents to the federal administrative disposition, official use, and/or destruction of that
property.

13. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
prosecute Defendant for any additional offenses known to it as of the time of this Plea
Agreement based upon evidence in its possession at this time, and that arise out of the
conduct giving rise to this investigation. In this regard, Defendant recognizes the United
States has agreed not to prosecute all of the criminal charges the evidence establishes
were committed by Defendant solely because of the promises made by Defendant in this
Plea Agreement. Defendant agrees, however, that for purposes of preparing the
Presentence Report, the United States Attorney’s Office will provide the United States
Probation Office with evidence of all conduct committed by Defendant.

Defendant agrees that any charges to be dismissed before or at the time of
sentencing were substantially justified in light of the evidence available to the United
States, were not vexatious, frivolous or taken in bad faith, and do not provide Defendant
with a basis for any future claims under the “Hyde Amendment,” Pub. L. No. 105-119
(1997).

14. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that, if
Defendant breaches this Plea Agreement: (a) the United States may withdraw from this
Plea Agreement and Defendant may be prosecuted for all offenses for which the United
States has evidence; (b) Defendant will not oppose any steps taken by the United States
to nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
Agreement; and/or (c) Defendant waives any objection to the re-institution of any charges
that previously were dismissed or any additional charges that had not been prosecuted.

Defendant further understands that if, after the date of this Plea Agreement,
Defendant should engage in illegal conduct, or conduct that violates any conditions of

release or the conditions of confinement (examples of which include, but are not limited

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to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the Pretrial Services
Officer, Probation Officer, or Court), the United States is free under this Plea Agreement
to file additional charges against Defendant and/or to seek a sentence that takes such
conduct into consideration by requesting the Court to apply additional adjustments or
enhancements in its Sentencing Guidelines calculations in order to increase the applicable
advisory Guidelines range, and/or by seeking an upward departure or variance from the
calculated advisory Guidelines range. Under these circumstances, the United States is
free to seek such adjustments, enhancements, departures, and/or variances even if
otherwise precluded by the terms of the Plea Agreement.

15. | Waiver of Appellate Rights and Rights to Collateral Attacks. Defendant
acknowledges that, by entering the guilty plea(s) required by this Plea Agreement,
Defendant waives all rights to appeal from Defendant’s conviction, and any pretrial
rulings of the Court, and any rulings of the Court made prior to entry of the judgment of
conviction. Defendant further agrees that, provided the Court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the Court at
the time of sentencing, Defendant waives to the full extent of the law any right conferred
by Title 18, United States Code, Section 3742, to challenge, on direct appeal, the
sentence imposed by the Court, including any fine, restitution order, probation or
supervised release conditions, or forfeiture order (if applicable).

Defendant also agrees that, by entering the guilty plea(s) required by this Plea
Agreement, Defendant waives any right to bring a collateral attack against the conviction
and sentence, including any restitution order imposed, except as it may relate to the
effectiveness of legal representation or a claim of prosecutorial misconduct based on facts
unknown or not reasonably discoverable prior to entry of the judgment of conviction.

Defendant acknowledges that certain claims, including certain claims for prosecutorial

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misconduct, will be barred by operation of law by virtue of their guilty plea,
independently from this Plea Agreement. This waiver does not preclude Defendant from
bringing an appropriate motion pursuant to 28 U.S.C. § 2241, to address the conditions of
Defendant’s confinement or the decisions of the Bureau of Prisons regarding the
execution of Defendant’s sentence.

If Defendant breaches this Plea Agreement at any time by appealing or collaterally
attacking (except as to claims not subject to the waiver, above) the conviction or sentence
in any way, the United States may prosecute Defendant for any counts, including those
with mandatory minimum sentences, that were dismissed or not charged pursuant to this

Plea Agreement.

16. Voluntariness of Plea. Defendant agrees that Defendant has entered into
this Plea Agreement freely and voluntarily, and that no threats or promises were made to
induce Defendant to enter a plea of guilty other than the promises contained in this Plea
Agreement or set forth on the record at the change of plea hearing in this matter.

17. Statute of Limitations. In the event this Plea Agreement is not accepted by
the Court for any reason, or Defendant breaches any of the terms of this Plea Agreement,
the statute of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to: (1) thirty days following the date of non-acceptance of the Plea Agreement
by the Court; or (2) thirty days following the date on which a breach of the Plea

Agreement by Defendant is discovered by the United States Attorney’s Office.
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18. Completeness of Plea Agreement. The United States and Defendant
acknowledge that these terms constitute the entire Plea Agreement between the parties,
except as may be set forth on the record at the change of plea hearing in this matter. This
Plea Agreement binds only the United States Attorney’s Office for the Western District
of Washington. It does not bind any other United States Attorney’s Office or any other

office or agency of the United States, or any state or local prosecutor.

Dated this 5” day of July, 2024.
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RYAN HOLMQUIST
Defendant f

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RALPH HURVITZ
Attorney for Defendant

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VINCENT T. LOMBARDI
Assistant United States Attorney

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CASEY S. CONZATTI
Assistant United States Attorney

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